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                         UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT MICHIGAN

STRIKE 3 HOLDINGS, LLC,                         )
                                                )
             Plaintiff,                         )   Civil Case No. 1:24-cv-00094-RJJ-RSK
                                                )
v.                                              )
                                                )
JOHN DOE subscriber assigned IP                 )
Address 96.42.162.10,                           )
                                                )
             Defendant.                         )
                                                )

 DECLARATION OF SUSAN B. STALZER IN SUPPORT OF PLAINTIFF’S MOTION
  FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR TO A RULE 26(f)
                           CONFERENCE




                          [Remainder of page intentionally left blank]




                                             i
                                         EXHIBIT C
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 DECLARATION OF SUSAN B. STALZER IN SUPPORT OF PLAINTIFF’S MOTION
   FOR LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE

I, Susan B. Stalzer, do hereby state and declare as follows:

         1.     My name is Susan B. Stalzer. I am over the age of 18 and am otherwise competent

to make this declaration.

         2.     This declaration is based on my personal knowledge and, if called upon to do so, I

will testify that the facts stated herein are true and accurate.

         3.     I work for Strike 3 Holdings, LLC (“Strike 3”) and review the content of their

motion pictures.

         4.     I hold a Bachelor’s degree and Master’s degree in English from Oakland

University.

         5.     I have a long history of working in the fine arts, with an emphasis on writing,

including having served as an adjunct professor of composition and literature.

         6.     I am familiar with Strike 3’s plight with online piracy and its determination to

protect its copyrights.

         7.     I was tasked by Strike 3 with verifying that each infringing file identified as a

motion picture owned by Strike 3 on torrent websites was in fact, either identical, strikingly similar

or substantially similar to a motion picture in which Strike 3 owns a copyright.

         8.     Strike 3 provided me with digital media files to compare with Strike 3’s copyrighted

works.

         9.     Based on the Declaration of David Williamson, I understand that Strike 3 obtained

each digital media file using the VXN Scan’s Torrent Collector and Downloader components.



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Declaration of Susan B. Stalzer in Support of Plaintiff’s Motion for Leave to Serve a Third Party
                          Subpoena Prior to a Rule 26(f) Conference

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       10.     I viewed each of the digital media files side-by-side with Strike 3’s motion pictures,

as published on the Blacked, Blacked Raw, Slayed, MILFY, Tushy, Tushy Raw, and/or Vixen

websites and enumerated on Exhibit A by their United States Copyright Office identification

numbers.

       11.     Each digital media file is a copy of one of Strike 3’s motion pictures that is identical,

strikingly similar, or substantially similar to the original work identified by their United States

Copyright Office identification numbers on Exhibit A to the Complaint.



                                         DECLARATION

       PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
laws of the United States of America that the foregoing is true and correct.
                         24
       Executed on this _______          January
                                 day of ________________,           4
                                                               202___.

                                       SUSAN B. STALZER

                                       By:




                                                2
Declaration of Susan B. Stalzer in Support of Plaintiff’s Motion for Leave to Serve a Third Party
                          Subpoena Prior to a Rule 26(f) Conference

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